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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION



UNITED STATES OF AMERICA,

              Plaintiff,                           Case No. 01-81015

v.                                                 District Judge George Caram Steeh
                                                   Magistrate Judge R. Steven Whalen
RANID GAMMO,

              Defendant.

__________________________________/

                           OPINION AND ORDER GRANTING
                            MOTION TO QUASH SUBPOENA

        This is a criminal case. As part of his sentence, Defendant Ranid S. Gammo, who is

currently on supervised release status, was ordered to pay $202,850.83 in restitution. He has

been making payments in the amount of $50 per month. In order to determine whether

Defendant has the ability to make more substantial payments, the government issued

subpoenas to Jeffrey Gammo (the Defendant’s nephew) and Reyad Gammo (the Defendant’s

brother), commanding them to appear at a deposition and to produce personal financial

information. Before the Court are Jeffrey’s and Reyad’s motions to quash the subpoenas

[Docket Nos. 25 and 26], which have been referred for hearing and determination pursuant

to 28 U.S.C. §636(b)(1)(A).




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                                         I.   FACTS

       Defendant was sentenced in 2003 to a term of 18 months imprisonment, followed by

three years of supervised release. He was also ordered to pay restitution in the amount of

$202,850.83. At the time of sentencing, Defendant’s nephew Jeffrey Gammo, then a young

man of 18 or 19, was living with him and apparently being supported by him. However,

counsel stated at oral argument that Jeffrey has not lived with the Defendant since April of

2003 (T. 7).1 The government claims, on information and belief, that in February, 2003, the

Defendant signed a lease for a 2003 Saab that was driven by Jeffrey, and that in February,

2002, Defendant leased a 2000 Isuzu Trooper that was driven by his brother Reyad.

       Defendant Ranid Gammo has submitted an affidavit stating that although he and his

wife at one time contributed to the financial support of Jeffrey, they have not done so since

April, 2003. Defendant also states that he does not support his brother, Reyad Gammo, in

any way. Neither Jeffrey nor Reyad were defendants or otherwise involved with the

underlying criminal offense of which Ranid was convicted.

       The government issued subpoenas to Jeffrey and Reyad, along with a “List of

Documents to Bring to Deposition.” The list is quite comprehensive, and relates to Jeffrey’s

and Reyad’s personal finances, including earnings statements; bank statements, deeds and

other documents relating to real estate; stocks, bonds and securities; titles to motor vehicles;

life insurance information; financial or profit and loss statements; all expenses, such as



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           “T” refers to the transcript of oral argument on March 14, 2006.

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installment debts, food, utilities and other living expenses; pension, retirement or profit-

sharing plans; and local, state and federal income tax returns for the past three years. In

support of its request, the government argues as follows:

       “The United States alleges that there is sufficient financial involvement to
       require both Jeffrey and Reyad to appear for deposition and to complete
       financial information statements. This information is both relevant and
       necessary to determine whether Defendant is making good faith attempts to
       pay his restitution or is merely taking on additional unwarranted family
       responsibilities at the expense of his victim.” Government’s Response, p. 3.

       Jeffrey and Reyad Gammo have moved to quash their subpoenas on the grounds of

relevance and overbreadth.

                                      II.   ANALYSIS

       Under 18 U.S.C. §3664(f)(2)(A), (B) and ( C ), the court considers the financial assets

and resources of the defendant in setting the terms of restitution, including whether the assets

are jointly controlled, and also considers the financial obligations of the defendant, including

obligations to dependents. Thus, the government would be well within its rights to conduct

a debtor’s examination of the Defendant himself. However, at oral argument on this Motion,

the government indicated that it had not yet done so (Tr. 10). Likewise, information about

whom, if anyone, Defendant claimed as dependents could be determined from his own tax

returns. Again, however, the government had not obtained those returns as of the date of oral

argument (Tr. 11).

       Instead, the government issued two third-party subpoenas to the Defendant’s relatives.

When asked at oral argument about the breadth of the document requests, the government


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stated that “[w]hen we issue our subpoenas, we try to make them as broad as possible, and

then we recognize that many times defendants and/or third parties will have questions and/or

defenses to documents that are...being asked for.” (Tr. 11). Counsel for the government also

offered the following generalization about criminal defendants and their families:

       “[I]n our–in my dealings with defendants in the past, their–their
       representations of their financial affairs and their financial affairs with their
       family members are subject to change every time we ask them a question.
       This is why when we do include third-party family members in a review of
       their financial affairs, we try to make our request as broad as possible....Again,
       because of the nature of the defendants and their willingness to cloud the issue
       with respect to their assets and their liabilities, I believe that I have an
       obligation with respect to family members to be as encompassing as possible
       to determine what the financial relationships are between close family
       members” (Tr. 12).

       Under Fed.R.Civ.P. 45(c)(3)(A)(iii) and (iv), the court shall, on timely motion, quash

or modify a subpoena if it “requires disclosure of privileged or other protected matter and no

exception or waiver applies,” or if it “subjects a person to undue burden.” In addition, a

“person from whom discovery is sought” may seek a protective order under Fed.R.Civ.P. 26

( c ) where it is necessary “to protect a party or person from annoyance, embarrassment,

oppression or undue burden or expense.” All discovery is subject to the limitations of Rule

26(b)(2), which also speak to burden and expense. Where confidential documents such as

tax returns are sought, a subpoena issued to a third party, rather than the defendant, is given

careful scrutiny. See United States v. Monumental Life Insurance Company, 440 F.3d 729,

735-36 (6th Cir. 2006).

       In this case, the government asks for too much, too soon. The salient question is the


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Defendant’s financial status, including any relevant financial entanglements with relatives,

in 2006, not in 2002 or 2003. The government has presented nothing of substance to counter

the Defendant’s affidavit that while he may have supported his nephew in years past, he has

no current financial ties to Jeffrey or Reyad. The government has therefore failed to show the

relevance of the third-party documents it seeks. While the government has the right to inquire

into the Defendant’s present financial circumstances, through a debtor’s examination or a

request for his own tax records, it has not done so. If and when it does, it may be able to

produce some concrete information supporting further inquiry into the financial situation of

Defendant’s family members, but at this time, the government has nothing to support its

request except vague generalizations about the supposed duplicity of criminal defendants and

their families.

       In addition, the government’s subpoenas for documents are exceedingly broad,

covering virtually every aspect of Jeffrey’s and Reyad’s personal finances, including

confidential tax returns. Invalidating an IRS summons issued under 26 U.S.C. §7602, the

Fourth Circuit in United States v. Theodore, 479 F.2d 749, 754 (4th Cir. 1973), stated:

       “A summons will be deemed unreasonable and unenforceable if it is overbroad
       and disproportionate to the end sought....The Government cannot go on a
       ‘fishing expedition’ through appellant’s records, ... and where it appears that
       the purpose of the summons is ‘a rambling exploration’ of a third party’s files,
       it will not be enforced.” (Citations omitted).

       By its own admission (“we try to make [the subpoenas] as broad as possible”), the

government is on no less of a fishing trip in the present case.

       Finally, while it might be theoretically possible to narrow and modify the document

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requests, it would be difficult for the Court to undertake that task, given that as framed, the

subpoenas ask for virtually everything. If a debtor’s examination of the Defendant were to

reveal a relevant financial connection to Jeffrey or Reyad, and if the document requests were

appropriately narrowed in scope, the Court might be willing to revisit the issue, but as it

stands, the Motions to Quash Subpoenas [Docket #25 and #26] will be GRANTED.

       SO ORDERED.



                                           S/R. Steven Whalen
                                           R. STEVEN WHALEN
                                           UNITED STATES MAGISTRATE JUDGE

Dated: April 25, 2006

                               CERTIFICATE OF SERVICE

The undersigned certifies that a copy of the foregoing order was served on the attorneys
and/or parties of record by electronic means or U.S. Mail on April 25, 2006.


                                           S/Gina Wilson
                                           Judicial Assistant




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